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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 4:08CR076-P-D

VATESTA JOHNSON WASHINGTON,
ET AL.,                                                                       DEFENDANTS.

                                ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant Vatesta Johnson Washington’s motion

to continue trial [26]. After due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for September 8, 2008. Defense counsel requests a continuance to allow

Frainzonia Alexander – the owner of the subject tax-preparation business which employed

Defendant Washington and who is also represented by Defendant Washington’s counsel – to decide

whether she will plead to an Information, and to determine whether Defendant Washington and/or

Alexander possess information which might be offered against the other, thereby creating a possible

conflict of interest for defense counsel. The Government does not object to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from September 8, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford defense counsel additional time to resolve any

potential conflicts of interest between his two clients, one of whom is Defendant Washington and

the other is a potential defendant in this action. As such, the ends of justice served by the granting

of this continuance outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

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       (1) Defendant’s motion for continuance [26] is GRANTED;

       (2) Trial of this matter is continued as to both defendants until Monday, November 3, 2008

at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from September 8, 2008 to November 3, 2008 s excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is October 14, 2008; and

       (5) The deadline for submitting a plea agreement is October 20, 2008.

       SO ORDERED this the 21st day of August, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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